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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

   UMG RECORDINGS, INC., et al.,

                Plaintiffs,

   v.                                            Case No. 8:19-cv-710-MSS-TGW

   BRIGHT HOUSE NETWORKS, LLC,

                Defendant.


                    BRIGHT HOUSE’S MOTION TO STRIKE
                PLAINTIFFS’ SUR-REBUTTAL EXPERT REPORTS

        Pursuant to Federal Rule of Civil Procedure 37(c)(1), Defendant Bright House

  Networks, LLC (“Bright House”) respectfully moves to strike certain of Plaintiffs’

  expert disclosures as untimely.

        When the Court adopted its Third Amended Case Management and Scheduling

  Order (“CMSO”), it set the deadline for the disclosure of Plaintiffs’ expert reports as

  September 29, 2021 and Bright House’s expert reports as November 5, 2021, limiting

  expert testimony to be presented at trial to only testimony that is “disclosed pursuant

  to this Order.” Dkt. 314 (Aug. 2, 2021). The Court explained that “absent highly

  extenuating circumstances,” there would be no further extensions of these deadlines.

  Dkt. 313 (Aug. 2, 2021). Plaintiffs served twelve expert reports on September 30,

  slightly after midnight. Ex. 1. Bright House served its five expert reports on November




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  5. Ex. 2. At that point, under the CMSO, the deadline for serving expert reports

  closed.

         On December 6 at 11:07 pm EST—more than two months after Plaintiffs’

  deadline and just eleven days before the December 17 close of expert discovery—

  Plaintiffs served two new “rebuttal” reports. Ex. 3, at 2. Plaintiffs did not seek leave

  of the Court, and did not inform Bright House in advance of their intention to serve

  additional reports. One report was served only two days before the witness’s already-

  scheduled deposition, and the other putative expert had not yet been disclosed at all,

  precluding Bright House from serving a timely deposition notice on the witness before

  the close of expert discovery.

         Plaintiffs’ untimely (and excessive) expert disclosures violate the letter and the

  spirit of the Court’s CMSO and Rule 26. Earlier in the case, the parties had requested

  that the Court enter a schedule that set express deadlines for rebuttal reports, and the

  Court rejected that proposed schedule. Plaintiffs should not be permitted to engage in

  self-help by serving a second round of reports on the eve of the discovery deadline.

  Plaintiffs’ attempts to skirt the CMSO’s deadlines are the kind of “wasteful pretrial

  activities” that will impede the “just, speedy, and inexpensive determination of the

  action” that the CMSO was intended to avoid. Dkt. 314. Both reports should be

  stricken.

                              FACTUAL BACKGROUND

         In its initial Case Management Scheduling Order, the Court scheduled

  deadlines for the “Disclosure of Expert Reports” of April 10, 2020 for Plaintiffs and

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  May 11, 2020 for Bright House. Dkt. 68 (Nov. 4, 2019). The parties later jointly

  moved to amend that schedule, and the Court extended those deadlines to February

  5, 2021 and March 8, 2021, respectively. Dkt. 144 (July 15, 2020).

        In January 2021, the parties jointly moved to extend the case schedule a second

  time. Dkt. 254 (Jan. 29, 2021). In that motion, the parties jointly proposed modifying

  the structure of “Disclosure of Expert Reports.” Rather than setting separate dates for

  expert reports for “Plaintiffs” and “Defendant,” the parties asked the Court to set dates

  for them to serve “Opening” and “Rebuttal” reports. Id. at 5. The Court rejected this

  proposed structure, instead setting a single expert report disclosure date for

  “Plaintiff[s]” and another single date for “Defendant.” Dkt. 257 (Feb. 2, 2021).

        In July 2021, the parties once more moved the Court to modify the dates for

  “Disclosure of Expert Reports,” proposing the following deadlines: (1) September 29,

  2021 for Plaintiffs’ expert reports; (2) November 5, 2021 for Bright House’s expert

  reports; and (3) December 17, 2021 for the close of expert discovery. Dkt. 306 at 5

  (July 13, 2021). The Court granted this motion, Dkt. 314 (Aug. 2, 2021), but warned

  that “absent highly extenuating circumstances,” no further extensions would be

  granted. Dkt. 313 (Aug. 2, 2021).

        Instead of serving their reports on September 29, 2021, as required by the

  CMSO, Plaintiffs served twelve expert reports at 12:35 am EST on September 30,

  2021, including a 45-page report (excluding exhibits) from an economist, Dr. Harold

  Furchtgott-Roth. Ex. 1. On November 5, 2021, Bright House served five expert

  reports, including two reports that rebutted Dr. Furchtgott-Roth’s opinions based on


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  their respective unique fields of expertise: (a) one from Bright House’s music industry,

  peer-to-peer, and internet expert, Dr. Aram Sinnreich; and (b) one from Bright House’s

  damages expert, George Strong. Ex. 2. The parties agreed on a deposition schedule

  for all experts, with Dr. Furchtgott-Roth’s deposition scheduled for December 8, and

  Dr. Sinnreich’s and Mr. Strong’s depositions both scheduled for December 16.

          But on December 6, 2021 at 11:07 pm EST, more than two months after

  Plaintiffs’ deadline under the operative CMSO, Plaintiffs served two new expert sur-

  rebuttal reports without warning: a “Rebuttal Expert Report of Harold Furchtgott-

  Roth, Ph.D.” and an “Expert Report of Professor On Amir.” Ex. 3, at 2. Plaintiffs

  did not seek leave to modify the CMSO, nor did they inform Bright House of their

  desire to serve more expert reports. Plaintiffs claimed that they were serving these two

  reports under “Federal Rule of Civil Procedure 26(a)(2)(B) and (a)(2)(D)(ii).” Ex. 3,

  at 2.

          In an attempt to avoid motion practice, Bright House asked Plaintiffs to

  voluntarily withdraw the untimely reports. Id. Plaintiffs refused, claiming that: (1) the

  absence of a specific rebuttal report deadline in the CMSO means that Plaintiffs were

  entitled to serve the reports within 30 days of receipt of Bright House’s expert reports

  under Rule 26(a)(2)(D)(ii); and (2) the reports “rebut only affirmative opinions

  disclosed in the reports of Dr. Sinnreich and Mr. Strong that go beyond the scope of

  proper rebuttal.” Id. As discussed below, neither position withstands scrutiny.




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                                   LEGAL STANDARD

         Rule 37(c)(1) provides that where a party fails to make required disclosures, “the

  party is not allowed to use that information or witness to supply evidence on a motion,

  at a hearing, or at a trial, unless the failure was substantially justified or is harmless.”

  Fed. R. Civ. P. 37(c)(1). “The burden of establishing that a failure to disclose was

  substantially justified or harmless rests on the nondisclosing party.” Mitchell v. Ford

  Motor Co., 318 F. App’x 821, 824 (11th Cir. 2009) (quotations omitted).

         In addition, Rule 16(b) “authorizes the district court to control and expedite

  pretrial discovery through a scheduling order and which gives the court broad

  discretion to preserve the integrity and purpose of the pretrial order, including the

  exclusion of evidence as a means of enforcing the pretrial order.” Potish v. R.J. Reynolds

  Tobacco Co., 2017 WL 5952892, at *2 (S.D. Fla. Nov. 30, 2017).

                                        ARGUMENT

  I.     PLAINTIFFS’ DECEMBER 6 EXPERT REPORTS ARE UNTIMELY

         The Federal Rules of Civil Procedure “authorize[] the court to set pretrial

  discovery deadlines through its scheduling order and give[] the court broad discretion

  to preserve the integrity and purpose of the scheduling order, including the exclusion

  of evidence as a means of enforcing it.” Schuller v. Geovera Specialty Ins. Co., 2018 WL

  11344855, at *3 (M.D. Fla. Sept. 26, 2018) (Scriven, J.) (quotations omitted). Rule

  26(a)(2) further compels that expert opinions be disclosed “at the times and in the

  sequence that the court orders.” Fed. R. Civ. P. 26(a)(2)(D).




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         Here, the Court set an express schedule for “Disclosure of Expert Reports” in

  the operative CMSO that required the disclosure of Plaintiffs’ reports by September

  29, 2021. Dkt. 314. The CMSO does not refer to “opening” or “initial” reports, but

  simply Plaintiffs’ “reports.” Id. Moreover, as discussed above, the Court considered

  and rejected an alternative structure which would have structured expert discovery as

  permitting “opening” and “rebuttal” reports. By the CMSO’s own text, the deadline

  for all of Plaintiffs’ expert reports was September 29. Id. If Plaintiffs wanted the ability

  to serve a second round of expert reports later, they could have sought leave to modify

  the CMSO. They did not.

         The sur-rebuttal reports of Dr. Furchtgott-Roth and Prof. Amir, served on

  December 6, were disclosed 42 days after that deadline, and just 11 days before the

  close of expert discovery. See id. Therefore, both reports by definition are untimely

  under the governing CMSO. The Court need go no further.

         In the parties’ meet-and-confer, Plaintiffs argued that the two reports are timely

  under Rule 26(a)(2)(D)(ii) because Plaintiffs served them 53 minutes before midnight,

  31 days after Bright House served its own reports (accounting for Sunday), see Ex. 3,

  but that Rule has no applicability here. Rule 26(a)(2)(D)(ii) provides in relevant part

  that a party must make its expert disclosures:

         at the times and in the sequence that the court orders. Absent ... a court order, the
         disclosures must be made … if the evidence is intended solely to contradict or
         rebut evidence on the same subject matter identified by another party under
         Rule 26(a)(2)(B) or (C), within 30 days after the other party’s disclosure.




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  Fed. R. Civ. P. 26(a)(2)(D)(ii) (emphasis added). Here, however, there is a court

  order—the CMSO—establishing the deadlines for each party to disclose any expert

  reports. Rule 26(a)(2)(D)(ii) cannot control here because a court order governing

  expert disclosures is not “absent.” This construction of Rule 26 has been adhered to

  by courts in this District, as well as at least one court of appeal. See, e.g., Salvato v.

  Miley, 2014 WL 12639956, at *2 (M.D. Fla. Jan. 9, 2014) (“where a scheduling order

  is silent on rebuttal experts, the deadline for such disclosure found in Rule 26 does not

  apply”; granting leave to serve where seven weeks remained in expert discovery);

  Eckelkamp v. Beste, 315 F.3d 863, 872 (8th Cir. 2002) (30-day rebuttal provision “only

  applies in the absence of other directions from the court or stipulation by the parties”;

  because “district court’s case order set its management requirements and did not

  provide for rebuttal experts, … the court was entitled to hold the parties to that order”)

  (quotations omitted).1 The entry of the CMSO negated Rule 26(a)(2)(D)(ii).

        To be sure, some courts have exercised their discretion to interpret Rule

  26(a)(2)(D)(ii) more liberally in certain circumstances. For example, in Teledyne

  Instruments, Inc. v. Cairns, 2013 WL 5781274 (M.D. Fla. Oct. 25, 2013), a magistrate

  judge in this District held that the lack of a “deadline for the disclosure of rebuttal

  expert witness reports does not mean that rebuttal expert witness reports are not


  1
      See also, e.g., Akeva LLC v. Mizuno Corp., 212 F.R.D. 306, 310 (M.D.N.C. 2002)
  (“when there is a discovery plan covering expert disclosures, the plan controls and not
  the explicit provisions of [then-governing] Rule 26(a)(2)(C)”); Int’l Bus. Machines Corp.
  v. Fasco Indus., Inc., 1995 WL 115421, at *2 (N.D. Cal. Mar. 15, 1995) (“[b]ecause this
  court assumed responsibility for setting [expert] disclosure dates, [then-governing]
  Rule 26(a)(2)(C)’s alternative procedure never kicked in”).

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  permitted” and permitted rebuttal reports to be filed 30 days after the initial reports

  they responded to. Id. at *17. Not only is Teledyne not binding on this Court, but its

  reasoning does not apply to the facts of this case.

         First, courts have limited Teledyne to situations where “the Court has not

  expressly addressed deadlines for disclosures of rebuttal expert witnesses.” Lee-Bolton

  v. Koppers Inc., 2015 WL 6394504, at *3 (N.D. Fla. Oct. 22, 2015) (rejecting application

  of Teledyne). But here, the Court considered the parties’ joint motion to schedule

  rebuttal deadlines, and rejected that request. See, e.g., Kelly v. Nelson, Mullins, Riley &

  Scarborough, LLP, 2003 WL 25778702, at *1 & n.2 (M.D. Fla. Mar. 25, 2003) (striking

  rebuttal reports where parties’ proposed scheduling order requested rebuttal deadlines

  but the Court did not enter it). Because the Court did consider and chose to not enter

  requested rebuttal deadlines, by no fair measure was the Court “silent” on the subject.

  And because Plaintiffs then never raised an intention to seek leave to serve rebuttal

  reports, Bright House had a good-faith belief that Plaintiffs were not “going to utilize

  rebuttal experts” and would comply with the CMSO as written. Lee-Bolton, 2015 WL

  6394504, at *3.

         Second, even if the Court were to accept Teledyne’s general approach, Plaintiffs’

  two December 6 Reports should still be excluded as untimely. In reaching its decision,

  Teledyne considered the prejudice to a party when being served with such reports,

  ultimately holding that because the plaintiff’s rebuttal reports “were submitted more

  than a month before the discovery deadline,” this left “[d]efendants more than enough

  time to take depositions and designate rebuttal experts, if any were needed.” 2013 WL

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  5781274, at *13. Here, however, the case is at the eve of the close of expert discovery.

  Dr. Furchtgott-Roth’s December 6 sur-rebuttal report, which is 27 pages long, was

  served just 36 hours before his long-scheduled deposition, with expert discovery

  closing just 11 days later. And as to Prof. Amir, who was disclosed for the first time

  on December 6 with a 27-page report, Bright House is not even able to notice his

  deposition before the close of expert discovery. See L.R. 3.04 (requiring subpoena to

  be served at least 14 days in advance of deposition). Unlike Teledyne, there is not

  “more than enough time” for Bright House to consider these lengthy reports and

  scramble to address them (including by potentially preparing its own responsive

  reports, as was allowed in Teledyne). 2013 WL 5781274, at *13. It is inconceivable

  that the Court intended to structure expert discovery to allow Plaintiffs to disclose a

  new expert just 11 days before discovery closes.

         Third, Plaintiffs already served twelve expert reports, so they have had more than

  enough opportunity to set forth any expert opinions. Between the date of Plaintiffs’

  untimely disclosures (December 6) and the close of expert discovery (December 17),

  fourteen expert depositions have been scheduled (including one on a Sunday, at

  Plaintiffs’ insistence). It is disproportionate to the needs of this case to award Plaintiffs

  with yet two more reports, especially when Bright House had just one chance to serve

  reports. Such discovery overload was not present in Teledyne.

         The Court should therefore recognize that the two December 6 reports are

  untimely under the CMSO and are not saved by Rule 26(a)(2)(D)(ii).




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   II.   PLAINTIFFS CANNOT SHOW THEIR UNTIMELY DISCLOSURES
         WERE SUBSTANTIALLY JUSTIFIED OR HARMLESS

         Not only are the two December 6 reports untimely, but exclusion of the reports

   and their opinions is the appropriate remedy here. “Courts have broad discretion to

   exclude untimely expert testimony ….” Guevara v. NCL (Bahamas) Ltd., 920 F.3d 710,

   718 (11th Cir. 2019); Companhia Energetica Potiguar v. Caterpillar Inc., 2016 WL

   3102225, at *5 (S.D. Fla. June 2, 2016) (similar). Plaintiffs cannot satisfy their burden

   of showing that their service of these untimely reports was either “substantially

   justified” or “harmless” under Rule 37(c)(1).

         First, there is no question that Plaintiffs were not substantially justified in serving

   the December 6 reports more than two months after the Court-ordered deadline. The

   CMSO’s deadlines are clear, and Plaintiffs had every opportunity to move for leave.

   Plaintiffs’ last-minute disclosures left Bright House only 36 hours to prepare to depose

   one of the experts, and did not permit enough time to serve a valid deposition notice

   on the other expert at all. Moreover, as detailed above, there were already 14 expert

   depositions scheduled during the 11-day window between the disclosure and the close

   of discovery. Especially in light of the Court’s admonition that no extensions of the

   deadlines would be granted absent “highly extenuating circumstances,” Dkt. 313,

   there simply is not enough time for Bright House to properly prepare for and depose

   the two proffered experts on their respective 27-page reports. And while the supposed

   importance of any new opinions cannot overcome the prejudice to Bright House, see,

   e.g., Kakawi Yachting, Inc. v. Marlow Marine Sales, Inc., 2014 WL 12639973, at *3-4



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   (M.D. Fla. Oct. 28, 2014) (excluding untimely expert report notwithstanding

   “substantial need”), Plaintiffs do not require these reports anyway, as they will still be

   free to cross-examine Dr. Sinnreich and Mr. Strong about their opinions at trial.

         Third, a lesser sanction, such as further modification of the discovery schedule

   to accommodate Plaintiffs’ belated disclosures, is not available. Dispositive and

   Daubert motions are scheduled to be filed on January 14, 2022. Plaintiffs were warned

   more than four months ago that no further extensions of this deadline “will be granted

   absent highly extenuating circumstances.” Dkt. 313. A desire to game the schedule

   in a way that could have easily been brought to the Court’s attention months earlier is

   not a “highly extenuating circumstance[].”2

         Under both Rule 37(c)(1) and the Court’s authority under Rule 16(b), the Court

   should strike both December 6 Reports and ensure that the progress of this case toward

   trial remains unimpeded.




   2
       During the parties’ meet-and-confer, Plaintiffs offered to delay Dr. Furchtgott-
   Roth’s deposition (scheduled to take place in 36 hours) or divide his deposition into
   two parts. Ex. 3, at 1. Such a remedy was impossible; with only 11 days before
   discovery closed, there were already 14 expert depositions scheduled to take place, and
   Bright House should not have been required to devote its resources to preparing for a
   last-minute 27-page expert report.
       Should the Court not strike the reports as requested, it has the discretion to order
   Dr. Furchtgott-Roth and Prof. Amir to sit for full depositions on their December 6
   reports, and to set an alternative Daubert briefing schedule for these two experts to
   allow Bright House sufficient time to seek exclusion of their opinions. But for the
   reasons set forth above, the Court should not indulge such upending of the schedule.

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   III.   DR. FURCHTGOTT-ROTH’S REPORT SHOULD ADDITIONALLY BE
          EXCLUDED AS AN IMPROPER SUR-REBUTTAL

          Even if the Court were to allow Plaintiffs to serve “rebuttal” reports under Rule

   26(a)(2)(D)(ii), Dr. Furchtgott-Roth’s December 6 report plainly exceeds that scope,

   and should be stricken for the independent reason that it is an improper sur-rebuttal.

          “An expert may be used for rebuttal if the expert offers evidence that is intended

   solely to contradict or rebut evidence on the same subject matter identified by the

   affirmative expert of another party.” Roe Boat, LLC v. N&G Eng’g, Inc., 2020 WL

   7416866, at *1 (S.D. Fla. Dec. 18, 2020) (quotations & emphasis omitted). “A

   proposed rebuttal expert satisfies this standard as long as the information provided by

   the rebuttal expert repels the affirmative expert testimony of the other party.” Id.

   (emphasis added).

          Dr. Furchtgott-Roth’s December 6 report goes far beyond rebutting “affirmative

   expert testimony” of Bright House’s experts; rather, it is merely a vehicle to challenge

   the rebuttal opinions of Bright House’s experts Dr. Sinnreich and Mr. Strong. As such,

   it is a classic sur-rebuttal, which “[t]he parties did not propose or agree to, and the

   Court’s Order never permitted.”      All-Tag Corp. v. Checkpoint Sys., Inc., 2019 WL

   5073499, at *4 (S.D. Fla. Oct. 9, 2019) (striking report as improper sur-rebuttal).

          Dr. Sinnreich’s and Mr. Strong’s reports each present extensive rebuttal

   opinions falling within their respective areas of expertise. Mr. Strong’s report, for

   example, is an “Expert Rebuttal Report.” See Ex. 4. After providing some permissible

   background, his opinions are all provided to rebut those provided in Dr. Furchtgott-



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   Roth’s first report—Mr. Strong references Dr. Furchtgott-Roth’s report more than 130

   times. Not only does Mr. Strong directly challenge specific opinions provided by Dr.

   Furchtgott-Roth (see id. ¶¶ 32-55), but he also explains

                                             (e.g., id. ¶¶ 59-95),

                                     (e.g., id. ¶¶ 98-102), and

                                                                        (e.g., id. ¶¶ 104-112).

   Dr. Sinnreich’s report likewise rebuts the aspects of Dr. Furchtgott-Roth’s initial report

   that fall within his expertise. See, e.g., Ex. 5 at 30-53 (“Responses to the Furchtgott-

   Roth Report”).

         Dr. Furchtgott-Roth’s December 6 report responds to those critiques to cure

   their attacks of his initial opinions—that is, it is a sur-rebuttal. The Court need not

   pick over each sentence, as even a cursory review makes it clear: Dr. Furchtgott-Roth

   directly references his own “initial report”—i.e., his September 29 report—thirty-five

   times across the 27 pages. See Ex. 6. For example:

       He responds that “

                                       .” Id. ¶ 17 (emphasis added).

       He argues that “

                              .” Id. ¶ 27 (citing Sept. 29 report) (emphasis added).

       He states that “
                                                           ” and then

                      .” Id. ¶ 39 (emphasis added).

       He acknowledges that “
                                                                             ,” and responds


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          that
                                      .” Id. ¶ 40 (emphasis added).

       He argues that “

                                                   ” and then
                                        . Id. ¶ 50 (emphasis added).

       He directly cites to and responds to Dr. Sinnreich’s rebuttal of Dr. Furchtgott-
        Roth’s initial report. See, e.g., id. at nn. 43, 44, 91, 92, 93, 97, 99, 102, 103, 104,
        105 & accompanying text.

   Dr. Furchtgott-Roth baldly admits that the ultimate conclusion of his December 6

   report is: “                                                                      .” Id. ¶ 6

   (emphasis added). Expert reports that are no more than “a direct and untimely rebuttal

   to the rebuttal report” are improper. All-Tag Corp., 2019 WL 5073499, at *3.

          Nor can Plaintiffs try to salvage Dr. Furchtgott-Roth’s report by having him (or

   the Court) belatedly try to peck through and selectively excise particular sentences or

   opinions to turn it into a proper rebuttal. Dr. Furchtgott-Roth already had that chance,

   and he should not be given a third bite at the apple. The only fair remedy is to limit

   Dr. Furchtgott-Roth’s testimony to the opinions provided in his September 29 report.

                                           CONCLUSION

          For the foregoing reasons, Bright House respectfully requests that its Motion be

   granted and Dr. Furchtgott-Roth’s and Prof. Amir’s untimely reports be stricken.




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               LOCAL RULE 3.01(g) CERTIFICATION OF COUNSEL

         Counsel for Bright House conferred with counsel for Plaintiffs via email on

   December 7, 2021 in a good-faith effort to resolve the issues raised in this motion. No

   resolution could be reached.

         Specifically, counsel for Bright House promptly contacted counsel for Plaintiffs

   regarding the unexpected and untimely-served reports that are the subject of this

   motion, on the morning after the reports were served. Bright House requested that

   Plaintiffs withdraw the reports to avoid unnecessary motion practice, but Plaintiffs

   refused to do so.

         Bright House does not bring this request as a time-sensitive motion given the

   Court’s previous guidance on this point. However, in light of the pending close of

   expert discovery (in three days), counsel for Bright House proposed an accelerated

   briefing schedule to counsel for Plaintiffs so that the request can be timely briefed.

   Plaintiffs agreed to file any opposition brief within 10 days of Bright House filing this

   motion (i.e., on or before December 27, 2021).



               Dated: December 14, 2021                   /s/ Andrew H. Schapiro
                                                          Andrew H. Schapiro




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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on December 14, 2021, I caused the foregoing

   document and all supporting materials thereto to be filed electronically with the Clerk

   of the Court using the CM/ECF system, which will send a notice of electronic filing

   to all counsel of record registered with CM/ECF.



                                                        /s/Andrew H. Schapiro
                                                        Andrew H. Schapiro




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